Case 2:18-cv-09631-SSV-KWR Document 8-1 Filed 11/20/18 Page 1 of 1

UNITED STATES DISTRICT CouRT
ECoR TE EASTERN DISTRACYT OF Lou\S\ANA

Svusaw LUTZ;

Plain Wks ) Cose Ne 1B-4G3\
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N. ) Di vasvon:

Wons@ABLeE SANDRA WIESON, PH.D, Secon: HED R

in Wee 6&¥scsal capacity as ) Sudne:

Reosssrac of Norkers  Ocleons ) S

Vocish Lovisvana, ) Noaasteacte Ly

DeFendoony ) Trdeg:

OL DSEC

Considering the Ex Pocte Nomen foc Recusal ,
IVT TS OK PEERED Way Jeo Moron is GRANTED.

New Orleans, Lousiana, Wis

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V3. DSTRICT JUDGE /MAGISTRATE
SOBEDT

Dared: (Waele
